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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


JOSEPH SCOTT SHERRILL and
KEITH A. SIVERLY, individually and on
behalf of all others similarly situated,

      Plaintiffs,

v.                                                  Case No. 04-72949

FEDERAL-MOGUL CORPORATION                           HONORABLE AVERN COHN
RETIREMENT PROGRAMS COMMITTEE;
JAMES ZAMOYSKI; RICHARD P.
RANDAZZO; RICHARD B. STEWART;
JOSEPH BREITENBECK; DAVID A.
BOZINSKY; RICHARD A. SNELL;
THOMAS W. RYAN; THOMAS P. MARTIN;
G. MICHAEL LYNCH; CHARLES G.
MCCLURE; FRANK E. MACHER; JOHN
J. FANNON; ROBERT S. MILLER, JR.;
RODERICK M. HILLS; GEOFFREY H.
WHALEN; JOHN DOES 1 TO 25; FEDERAL-
MOGUL CORPORATION SALARIED
EMPLOYEES’ INVESTMENT PROGRAM;
COMERICA BANK; and STATE STREET
BANK AND TRUST COMPANY,

      Defendants.

___________________________________/

             ORDER DENYING THE COMMITTEE DEFENDANTS’
      MOTION FOR PARTIAL SUMMARY JUDGMENT WITHOUT PREJUDICE

      This is a case under the Employment Retirement Income Security Act (ERISA),

29 U.S.C. § 1001 et seq., claiming breach of fiduciary duty. The Committee Defendants

have filed a Motion for Partial Summary Judgment. The motion is DENIED WITHOUT

PREJUDICE to the refiling after the decision on Comerica’s Motion for Summary

Judgment, provided it is accompanied by a manageable Statement of Material Facts
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Not in Dispute.

      Initially, the Committee Defendants filed a Statement of Material Facts Not in

Dispute of 100 paragraphs. Plaintiffs’ response did not conform to the Court’s motion

practice guidelines. Rather, plaintiffs filed a Counterstatement of Disputed Facts of 121

paragraphs. Again, the Committee Defendants response did not conform with the

Court’s motion practice guidelines.

      The parties attention is called to the attention of the following with respect to the

Court’s motion practice guidelines:

      The statements shall be non-argumentative and avoid the use of color words or
      distortions of the record in a party’s favor. Conclusory, speculative, or
      conjectural statements in support of a position shall be avoided. Hearsay
      statements and other inadmissible evidence cannot be considered.

      If the Committee Defendants chose to refile their motion, the Statement of

Material Facts must be concise and should not exceed more than 25-30 paragraphs.

The response must be direct and concise and not argumentative.

      SO ORDERED.



Dated: October 4, 2006                     s/Avern Cohn
                                          AVERN COHN
                                          UNITED STATES DISTRICT JUDGE




I hereby certify that a copy of the foregoing document was mailed to the parties of
record on this date, October 4, 2006, by electronic and/or ordinary mail.


                                           s/Julie Owens
                                          Case Manager, (313) 234-5160


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